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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 17-cv-20266-GAYLES


  WELLS FARGO BANK, N.A.,
                Plaintiff,

                  v.

  JOHN F. BONABY and BONABY
  MANAGEMENT, INC.,
                  Defendants.
                                                      /

                                    ORDER REMANDING CASE

          THIS CAUSE comes before the Court sua sponte. The Court has reviewed the record in

  this case and is otherwise fully advised in the premises.

          In its Order dated January 25, 2017, after concluding that Defendant Bonaby Management,

  Inc.’s (“Bonaby Management”) allegations pertaining to citizenship were “fatally defective” to

  establish diversity jurisdiction in this case, [ECF No. 6 at 3] (quoting Travaglio v. Am. Express

  Co., 735 F.3d 1266, 1269 (11th Cir. 2013), this Court ordered Bonaby Management to “file an

  Amended Notice of Removal that includes sufficient allegations to unequivocally establish diversity

  of citizenship of the parties in this case,” [Id.]. The Court warned that “[f]ailure to comply with th[e]

  Order will result in remand without further notice for want of federal jurisdiction.” [Id.]

          Bonaby Management filed its Amended Notice of Removal on February 10, 2017 [ECF

  No. 13]. In it, Bonaby Management alleges that “Plaintiff, Wells Fargo, by its signature on its

  complaint reflecting its residence as well as by its articles of incorporation clearly indicate that it

  is a citizen of the State of North Carolina.” [Id. ¶ 4(a)] (emphasis added). The Court made clear

  that a national banking association, like Wells Fargo, is a citizen of “the State designated in its

  articles of association as its main office.” [ECF No. 6 at 2] (emphasis added) (quoting Wachovia


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  Bank v. Schmidt, 546 U.S. 303, 318 (2006)). In other words, Bonaby Management has relied upon

  the wrong document and has not properly established Wells Fargo’s citizenship.

          As to its own citizenship, Bonaby Management asserts that “Defendant Bonaby Manage-

  ment, Inc. is a citizen of the State of Florida with a last known address on Miami Beach.” [ECF

  No. 13 ¶ 4(b)]. The Court also made clear that Bonaby Management, as a corporation, is deemed

  “for jurisdictional purposes . . . to be a citizen of the state of its incorporation and the state of its

  principal place of business.” [ECF No. 6 at 2] (citing 28 U.S.C. § 1332(c)(1)). Bonaby Manage-

  ment has failed to allege either its state of incorporation or the state of its principal place of busi-

  ness, relying instead on its “last known address” and a conclusory statement that it is a citizen of

  Florida. This is not sufficient to establish its citizenship.

          Based on the foregoing, the Court finds that Bonaby Management has failed to “‘unequivo-

  cally’ establish diversity of citizenship.” Corporate Mgmt. Advisors, Inc. v. Artjen Complexus, Inc.,

  561 F.3d 1294, 1297-98 (11th Cir. 2009) (quoting Armada Coal Exp., Inc. v. Interbulk, Ltd., 726

  F.2d 1566, 1569 (11th Cir. 1984)). As a result, the Court cannot properly exercise diversity juris-

  diction over this case, pursuant to 28 U.S.C. § 1332, and remand is warranted. It is therefore

          ORDERED AND ADJUDGED that this action is REMANDED in its entirety to the

  Circuit Court of the Eleventh Judicial Circuit in and for Miami-Dade County, Florida.

          This action is CLOSED.

          DONE AND ORDERED in Chambers at Miami, Florida, this 14th day of February, 2017.




                                                  ________________________________
                                                  DARRIN P. GAYLES
                                                  UNITED STATES DISTRICT JUDGE




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